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                                                                            F'IL£D1'19 DEC 2615:41usoc-01m



 2

 3

 4                               IN TIIE UNITED STATES DISTRICT COURT

 5
                                     FOR THE DISTRICT OF OREGON
 6
                                          MEDFORD DIVISION
 7
     PACCAR FINANCIAL CORP., a Washington                                 Case No.: 1:19-cv-01962-C
 8   Corporation
                                                        DEFENDANTS SISKIYOU CASCADE
 9
                    Plaintiff,                          RESOURCES, LLC AND JOEL
                                                        CASWELL'S ANSWER, AFFIRMATIV:~
                                                        DEFENSES, AND COUNTERCLAIM TO
11                                                      THE PLAINTIFF PACCAR FINANCIAL
     V.                                                 CORP'S COMPLAINT
12

13   SISKIYOU CASCADE RESOURCES, LLC, a
     Oregon LLC, CASWELL THOMPSON LLC,
14   an Oregon LLC, and JOEL CASWELL, and
     individual,
15

16
                    Defendants.

17
            Defendant Siskiyou Cascade Resources, LLC, and Joel Caswell respond to the PACCAR
18
     plaintiff's allegations stated in their complaint as set forth below. References to paragraphs in
19

20   this Answer are references to numbered paragraphs in the Complaint.

21          I. Defendants lack the knowledge sufficient to admit or deny the allegations specific to

22              the named plaintiff in paragraph 1.1.
23
            2. Defendants deny the allegations of paragraphs 1.2, 1.3, 1.4, 1.5, and 1.6.
24
            3. Defendants admit the allegations of paragraphs 2.1 and 2.2.
25

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          DEFENDANTS SISKIYOU CASCADE RESOURCES, LLC AND JOEL CASWELL'S ANSWER,
          AFFIRMATIVE DEFENSES, AND COUNTERCLAIM TO THE PLAINTIFF PACCAR FINANCIAL
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          4. Defendants admit that Siskiyou Cascade Resources, LLC agreed to lease four
 2
              commercial vehicles from PACCAR. Defendants deny that description of the vehicle
 3
              in paragraph 2.3 is the description listed in the lease agreements. Defendants deny
 4
              that the term of each lease was sixty (60) months.
 5
          5. Defendants admit the allegations of paragraph 2.4, and 2.5.
 6

 7        6. Defendants deny the allegations of paragraph 2.6, 2.7, and 2.8.

 8        7. Defendants lack the knowledge sufficient to admit or deny the allegations specific to

              the UCC-1 filing in paragraph 2.9. Defendant Siskiyou Cascade Resources, LLC

              leased the equipment described in the UCC-1 filing from Caswell Thompson LLC.
11
          8. Defendants lack the knowledge sufficient to admit or deny the allegations in
12
              paragraph 2.10.
13
          9. Defendants deny the allegations of paragraph 2.11
14

15
          10. In response to paragraph 2.12, Defendants admit the following: At all times

16            subsequent to PACCAR's desire to sell the equipment described in the lease

17            agreements between PACCAR and Siskiyou Cascade Resources, LLC; Defendants
18
              have actively supported that sale. Defendants believe that the value of the equipment
19
              leased from PACCAR is in excess of the amounts remaining payable to PACCAR
20
              under the lease agreement.
21
                     RESPONSE TO THE PLAINTIF'S FIRST CLAIM FOR RELIEF
22

23
                   Breach of Contract (against Defendants Siskiyou Cascade and Caswell)

24        11. Defendants reallege and incorporate the preceding paragraphs.

25       · 12. Defendants deny the allegations of paragraph 3.1
26   PAGE-2
          DEFENDANTS SISKIYOU CASCADE RESOURCES, LLC AND JOEL CASWELL'S ANSWER,
          AFFIRMATIVE DEFENSES, AND COUNTERCLAIM TO 1HE PLAINTIFF PACCAR FINANCIAL
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 1        13. In response to paragraph 3.2, Defendant Siskiyou Cascade Resources, LLC admits
 2
             that it failed to make payments when due. Defendant Joel Caswell has not had the
 3
             opportunity, nor has it been requested that he make the payments as guarantor.
 4
          14. Defendants individually and collectively deny the allegations of paragraph 3.3. If
 5
             Plaintiff PACCAR had been damaged, any amount could not be reasonably
 6

 7           determined until the equipment described in the lease agreement between Siskiyou

 8           Cascade Resources, LLC and PACCAR has been sold. Based on information and

 9           belief, no part of that equipment has been sold by PACCAR.

                 RESPONSE TO THE PLAINTIF'S SECOND CLAIM FOR RELIEF
11
                       Uniform Fraudulent Transfer Act (Against all Defendants)
12
          15. Defendants reallege and incorporate the preceding paragraphs.
13
          16. Defendants deny the allegations of paragraphs 3.4, 3.5, and 3.6. Prior to being held
14

15           by Caswell Thompson LLC, the security interest in the equipment described in the

16           UCC-1 filing was held by Rogue Credit Union.

17

18                                       GENERAL RESPONSES

19        17. Any factual allegations requiring a response, and not specifically admitted, are
20
             denied.
21
          18. Defendant Siskiyou Cascade Resources, LLC at all times cooperated with PACCAR
22
             as Siskiyou Cascade Resources, LLC attempted to terminate the leases and/or
23
             negotiate other terms. PACCAR acted with the utmost duplicity and
24

25           unprofessionalism.

26   PAGE-3
          DEFENDANTS SISKIYOU CASCADE RESOURCES, LLC AND JOEL CASWELL'S ANSWER,
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                           OTHER DEFENSES AND AFFIRMATIVE DEFENSES
 2
                                              FIRST DEFENSE
 3
                                          (Failure to State a Claim)
 4
          19. Plaintiff's complaint fails to state claims upon which relief can be granted.
 5
          20. Plaintiff PACCAR has not provided any evidence whatsoever for its claim for
 6

 7           damages in the principle amount of $241,843.57.

 8                                          SECOND DEFENSE

 9                                          (Lack of Jurisdiction)

          21. Plaintiff PACCAR has not provided any evidence whatsoever for its claim for
11
             damages in the principle amount of $241,843.57. There is no reasonable likelihood
12
             that any disputed amounts could be in excess of $75,000 therefore the court does not
13
             have jurisdiction under 28 USC 1332.
14

15                                           THIRD DEFENSE

16                                             (Unclean Hands)

17        22. Plaintiff PACCAR has repeatedly acted in bad faith with duplicity and
18
             unprofessionalism. These acts were perpetrated by various individuals including
19
             attorneys acting on behalf of PACCAR. Plaintiff cannot now complain about
20
             purported acts in the same transaction or proceeding relating to the process.
21

22

23
                                             COUNTERCLAIM

24                  (Attorney Fees; 42 USC 1988(b) and the Court's Inherent Power)

25

26   PAGE-4
          DEFENDANTS SISKIYOU CASCADE RESOURCES, LLC AND JOEL CASWELL'S ANSWER,
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          23. The Supreme Court has established a high hurdle for prevailing defendants to clear
 2           before being awarded attorney's fees under 42 USC 1988, but that hurdle is not
 3
             insurmountable. When a plaintiff and their attorney file a lawsuit with claims that are
 4
             without foundation and lacking any objectively reasonable basis, defendants are
 5
             entitled to recover attorney fees from the plaintiff. And, under the court's inherent
 6

 7
             power, the court may find that the plaintiff's counsel's actions warrant the defendants

 8           to recover those fees from the plaintiff's counsel in the alternative. This is such a

 9           case.

          24. Specifically, at least the following allegations in the plaintiff's complaint are
11
             frivolous, unreasonable, and lacking any objectively reasonable foundation (see
12
             Complaint, paragraph 3.3, 3.5, 3.6, 4.1, 4.2, 4.3)
13
                 a. The allegation that the Plaintiff has damages in the principle amount of
14

15                    $241,843.57.

16               b. The allegation that the acts of the Defendants constitute violations of the

17                    Uniform Fraudulent Transfer Act.
18
                 c. The allegation that the Plaintiff is entitled to an order declaring the UCC-1
19
                      filing as void.
20
                 d. The allegation that the Plaintiff is entitled to prejudgment attachment of the
21
                      "Trailers".
22

23
                 e. The Plaintiff's request for Injunctive relief prohibiting transfers or

24                    encumbrances.

25               f.   The Plaintiff's request for Levy and execution on the Trailers and other assets.
26   PAGE-5
          DEFENDANTS SISKIYOU CASCADE RESOURCES, LLC AND JOEL CASWELL'S ANSWER,
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      1               g. The Plaintiffs request for a judgment against Defendant Caswell Thompson
"'    2
                          LLC.
      3
               25. Plaintiffs claims are frivolous, unreasonable, and without foundation.
      4
               26. Defendants has incurred and will continue to incur reasonable attorney's fees to
      5
                  defend this matter. Defendants individually or collectively are entitled to recover
      6

      7           reasonable attorney fees from the plaintiff, or in the alternative, from plaintiffs

      8           counsel.

      9                                         PRAYER FOR RELIEF
     IO
                      WHEREFORE, having fully answered the plaintiffs complaint, defendants pray
     11
                  as follows:
     12
                      1. That the court dismiss plaintiffs complaint;
     13
                      2. That the court enter judgement in favor of the defendants;
     14

     15               3. That defendants recover their attorney fees, costs, and disbursements incured

     16                   herein; and

     17               4. That defendants be granted such other and further relief as the court deems
     18
                          just and equitable.
     19
                          DATED this 26th day of December, 2019
     20
                                                        SISKIYOU CASCADE RESOURCES,
     21                                                 LLC



                                                           ~
     22

     23

     24

     25

     26   PAGE-6
               DEFENDANTS SISKNOU CASCADE RESOURCES, LLC AND JOEL CASWELL'S ANSWER,
               AFFIRMATIVE DEFENSES, AND COUNTERCLAIM TO THE PLAINTIFF PACCAR FINANCIAL
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                                      CERTIFICATE OF SERVICE
 2

 3     I hereby certify that on the 26th day of December, 2019, I served a true copy of the foregoing
       defendants' answer, affirmative defenses, and counterclaim on:
 4
             Joseph A. Grube
 5           Breneman Grube Orehoski, PLCC
             1200 Fifth A venue, Suite 625
 6
             Seattle, WA 98101
 7           OfAttorneys for PlaintiffPACCAR Financial Services, Corp

 8
     Ill//
 9
     I/Ill
10
             ___ CM/ECF system transmission.
11
             ___ E-mail As required by Local Rule 5.2, any interrogatories, requests for
12              production, or request for admission were e-mailed in Word or WordPerfect
                format, not in PDF, unless otherwise agreed to by the parties.
13
             ___ Facsimile communication device.
14

15             X    First-class mail, postage prepaid.

16           ___ Hand-delivery.

17           ___ Overnight courier, delivery prepaid.
18

19

20

21           DATED this 26th day of December 2019.
22
                                                    SISKIYOU CASCADE RESOURCES,
23                                                  LLC

24
                                                                          --
25

26

     CERTIFICATE OF SERVICE - 2
